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                    IN THE UNITED STATES DISTRICT COURT FOR THE


                             EASTERN DISTRICT OF VIRGINIA


                                   ALEXANDRIA DIVISION




UNITED STATES OF AMERICA                                    Criminal No.: l:18-MJ-?>(^
                                                            Misdemeanor
               V.



ASIA A. COPELAND,                                          Court Date: December 10, 2018

                      Defendant.



                                  CRIMINAL INFORMATION


                        (COUNT I- Class A Misdemeanor - 7512709)

THE UNITED STATES ATTORNEY CHARGES THAT:


       On or about October 4, 2018, at Marine Corps Base, Quantico, Virginia, within the

special maritime and territorial jurisdiction of the United States in the Eastem District of

Virginia, the defendant, ASIA A. COPELAND, did unlawfully operate a motor vehicle while

under the influence of alcohol.


(Violation of Title 18, United States Code, Section 13, assimilating Virginia Code, Section
18.2-266(ii), 1950, as amended)
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